1 0 9 9 N EW Y O R K AVEN U E, N W SU ITE 9 0 0 WASH IN G TO N , D C 2 0 0 0 1 - 4 4 1 2




                                                                                                             Adam Unikowsky
                                                                                                             Tel +1 202 639 6041
                                                                                                             Fax +1 202 661 4925
                                                                                                             AUnikowsky@jenner.com


BY ECF
May 23, 2025
Patricia S. Dodszuweit
Clerk of Court
United States Court of Appeals for the Third Circuit
21400 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106-1790

           Re:         Novartis AG v. Novadoz Pharmaceuticals LLC, No. 25-1550 (3d Cir.)


Dear Ms. Dodszuweit:
      Pursuant to the Court’s order dated April 15, 2025, ECF 12, Appellants
Novadoz Pharmaceuticals LLC, MSN Pharmaceuticals Inc., and MSN Laboratories
Private Limited (collectively, “MSN”) submit this status report and respond to the
status report filed earlier today by Appellees Novartis AG and Novartis
Pharmaceuticals Corporation (collectively, “Novartis”), ECF 22.
       As reported by Novartis, this morning, the District Court granted MSN’s
motion to stay the preliminary injunction entered by the District Court on March 17,
2025. D.N.J. Dkt. ECF 51. The District Court’s decision is enclosed. The District
Court held that a stay was warranted because, contrary to its determinations in
granting the preliminary injunction, Novartis was unlikely to succeed on the merits
of its trade dress infringement claim and was unlikely to suffer irreparable harm.
See, e.g., id. at 5–6. The District Court “recognize[d] that its holding here is in
conflict with its previous holding,” but further “note[d] that courts sometimes get
things wrong.” Id. at 5 n.2. However, despite having previously “indicated it was
considering sua sponte reconsidering its Opinion” granting the preliminary
injunction, the District Court did not do so because it concluded that MSN’s notice
of appeal divested it of jurisdiction to do so. Id. at 4 n.1.



C EN T U R Y C IT Y C H IC A GO L ON D ON      L OS A N GEL ES     N EW YOR K      SA N F R A N C ISC O   W A SH IN GT ON , D C   EN N ER .C O M
      In light of the District Court’s decision and analysis, MSN intends to file a
motion for a limited remand to enable the District Court to reconsider its decision
granting the preliminary injunction. If the District Court does so and vacates the
preliminary injunction, as appears likely, MSN will dismiss the instant appeal and
Novartis can seek appellate relief as it sees fit. MSN will also oppose any motion
by Novartis seeking relief from the stay imposed by the District Court.
                               Sincerely,

                               /s/ Adam G. Unikowsky
                               Adam G. Unikowsky
Case 2:25-cv-00849-EP-JRA   Document 51   Filed 05/22/25   Page 2 of 17 PageID: 7102
Case 2:25-cv-00849-EP-JRA   Document 51   Filed 05/22/25   Page 3 of 17 PageID: 7103
Case 2:25-cv-00849-EP-JRA   Document 51   Filed 05/22/25   Page 5 of 17 PageID: 7105
Case 2:25-cv-00849-EP-JRA   Document 51   Filed 05/22/25   Page 8 of 17 PageID: 7108
Case 2:25-cv-00849-EP-JRA   Document 51   Filed 05/22/25   Page 9 of 17 PageID: 7109
Case 2:25-cv-00849-EP-JRA   Document 51 Filed 05/22/25   Page 10 of 17 PageID:
                                   7110
Case 2:25-cv-00849-EP-JRA   Document 51 Filed 05/22/25   Page 11 of 17 PageID:
                                   7111
Case 2:25-cv-00849-EP-JRA   Document 51 Filed 05/22/25   Page 16 of 17 PageID:
                                   7116
Case 2:25-cv-00849-EP-JRA   Document 51 Filed 05/22/25   Page 17 of 17 PageID:
                                   7117
                        CERTIFICATE OF SERVICE

      I, Adam G. Unikowsky, an attorney, hereby certify that on May 23, 2025, I

caused the foregoing Status Report to be electronically filed with the Clerk of the

Court for the United States Court of Appeals for the Third Circuit by using the

CM/ECF system. I certify that all participants in this case are registered CM/ECF

users and that service will be accomplished by the CM/ECF system.

                                       /s/ Adam G. Unikowsky
                                      Adam G. Unikowsky
                                      JENNER & BLOCK LLP
                                      1099 New York Avenue NW
                                      Suite 900
                                      Washington, D.C. 20001
                                      (202) 639-6041
                                      aunikowsky@jenner.com
